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2                              UNITED STATES DISTRICT COURT

3                                      DISTRICT OF NEVADA

4     RENAE JOY SWAIM, as Special
5     Administrator of the Estate of Clinton            3:21-cv-00502-MMD-CSD
      Lee Swaim, et al.,
6                                                       ORDER
                                   Plaintiffs,
7         v.                                            Re: ECF No. 14
8
      STATE OF NEVADA ex rel.
9     NEVADA DEPARTMENT OF
      HEALTH AND HUMAN SERVICES,
10    et al.,

11                              Defendants.
12         Before the court is Plaintiffs’ Motion to Extend Time to Serve David Atherton,
13   Matt Bowman, Daiki “Sam” Branch, James Cameron, Isaac Flores, Joel Gomez, Chris Henry,
14
     Brad Mitchell, and Lacey Patiga (ECF No. 14).
15
           Good cause appearing, Plaintiffs’ Motion to Extend Time to Serve David Atherton,
16
     Matt Bowman, Daiki “Sam” Branch, James Cameron, Isaac Flores, Joel Gomez, Chris Henry,
17

18   Brad Mitchell, and Lacey Patiga (ECF No. 14) is GRANTED. Plaintiffs shall have to and

19   including May 6, 2022, in which to effect personal service on Defendants David Atherton,

20   Matt Bowman, Daiki “Sam” Branch, James Cameron, Isaac Flores, Joel Gomez, Chris Henry,
21
     Brad Mitchell, and Lacey Patiga
22
           IT IS SO ORDERED.
23
           DATED: March 8, 2022.
24

25                                               ______________________________________
                                                 UNITED STATES MAGISTRATE JUDGE
26

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